                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                     NO. 3:18-CV-00030

YURI KOROTKOV &                             )
IRYNA PAVLOVNA KOROTKOVA,                   )
                                            )
               Plaintiffs,                  )
                                            )
       v.                                   )
                                            )
SUNTRUST MORTGAGE, INC.,                    )
                                            )
       Defendant.                           )

                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Lauren E. Fussell of the law firm of Williams Mullen

hereby enters her appearance on behalf of Defendant SunTrust Bank.

       Respectfully submitted this the 5th day of October 2018.

                                                   WILLIAMS MULLEN


                                                   By: /s/Lauren E. Fussell
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                                                   Inc.




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                                  CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on October 5, 2018, the foregoing

document was electronically filed with the Clerk of Court using the Court’s CM/ECF system and

served by U.S. Mail at the address indicated below.

        SERVED:

        M. Shane Perry
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        Attorney for Plaintiffs

                                                      WILLIAMS MULLEN


                                                      By: /s/Lauren E. Fussell
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